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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )                8:05CR162
                                              )
GENARO FAVALA RAMIREZ,                        )                  ORDER
                                              )
                      Defendant.              )


         Defendant’s motion to continue the plea hearing (Filing No. 259) is granted.
         IT IS ORDERED that the Change of Plea hearing is continued to February 1, 2007
at 3:30 p.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
         For this defendant, the time between January 26, 2007 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).
         Since this is a criminal case, the defendant must be present unless excused by the
Court.
         DATED this 26th day of January, 2007.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
